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       Attorneys for Plaintiff and Counter-Claim Defendant
       Cameron Gainer, an individual
  17

  18                         UNITED STATES DISTRICT COURT

  19                        CENTRAL DISTRICT OF CALIFORNIA

  20
        CAMERON GAINER, an individual            Case No.: 8:17-CV-00672
  21
                     Plaintiff,                  [Hon. James V. Selna]
  22
               vs.                               STIPULATION RE
  23                                             CONTINUANCE OF PRE-TRIAL
        THE KETCHUM GROUP, INC.,et al,           DEADLINES DUE TO
  24                                             RESOLUTION OF ACTION
                     Defendant.
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           STIPULATION RE CONTINUANCE OF PRETRIAL DEADLINES DUE TO RESOLUTION OF ACTION
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   1           WHEREAS, the parties have entered into an agreement resolving this action;
   2           WHEREAS, the agreement contains a condition that must be met on or before
   3   July 16, 2018;
   4           WHEREAS, as soon as that condition has been met, the parties will submit a
   5   stipulation to dismiss this action with prejudice with each side to bear their own fees
   6   and costs;
   7           WHEREAS, there are a series of pre-trial deadlines between now and July 16,
   8   2018;
   9           WHEREAS, in order to preserve party and judicial resources and given the
  10   likelihood that this action will be dismissed on or before July 16, 2018, the parties
  11   respectfully request the deadlines set forth below be continued pending dismissal of
  12   this action:
  13           WHEREFOR, IT IS HEREBY STIPULATED BY AND BETWEEN THE
  14   PARTIES THROUGH THEIR ATTORNEYS OF RECORD, SUBJECT TO THE
  15   APPROVAL OF THE COURT, THAT the following deadlines be continued
  16   pending dismissal of this action:
  17                    Event              Current Date         Proposed Continued Date
  18           Plaintiffs’ Reply In    July 2, 2018           July 23, 2018
  19           Support of Summary
  20           Judgment
  21           Hearing on Cross        July 16, 2018          August 6, 2018
  22           Motions for Summary
  23           Judgment
  24           Last Day to File        July 2, 2018           July 23, 2018
  25           Motions In Limine
  26           Final PreTrial          July 30, 2018          August 6, 2018
  27           Conference
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            STIPULATION RE CONTINUANCE OF PRETRIAL DEADLINES DUE TO RESOLUTION OF ACTION
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   1        SO STIPULATED:
   2
        DATED: June 29, 2018           ROBINS KAPLAN LLP
   3

   4                                           /s/ François Ecclesiaste
                                       By                            ________
   5                                               François Ecclesiaste
                                       Attorneys for Plaintiff,
   6                                   CAMERON GAINER
   7
        DATED: June 29, 2018           THE KNEAFSEY FIRM, INC.
   8

   9                                           /s/ Sean Kneafsey
                                       By                            ________
  10                                                Sean Kneafsey
  11                                   Attorney for Defendant,
                                       KETCHUM INC.
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           STIPULATION RE CONTINUANCE OF PRETRIAL DEADLINES DUE TO RESOLUTION OF ACTION
Case 8:17-cv-00672-JVS-DFM Document 61 Filed 06/30/18 Page 4 of 4 Page ID #:1776



   1
                                         ATTESTATION
             I, Sean M. Kneafsey, am the CM/ECF user whose ID and password are being
   2
       used to file this document. In compliance with L.R. 5-4.3.4(a)(2)(i), I hereby attest
   3
       that all signatories have concurred in the filing of this document.
   4

   5
                                                        /s/ Sean M. Kneafsey
   6                                          By                               ________
                                                      Sean M. Kneafsey
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            STIPULATION RE CONTINUANCE OF PRETRIAL DEADLINES DUE TO RESOLUTION OF ACTION
